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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  ELIA MELGAR

                  Plaintiff,

             v.                                               CASE NO.: 1:17-cv-20209-RNS


  AMERICAN MEDICAL COLLECTION
  AGENCY,

                  Defendant.
                                                        /

                               JOINT STIPULATION OF DISMISSAL

         IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel

  for all parties in the above captioned action, that whereas no party hereto is an infant, incompetent

  person for whom a committee has been appointed or conservatee, and no person not a party has an

  interest in the subject matter of the action, that this action is dismissed with prejudice and without

  costs to either party pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

  Dated: June 20, 2017

   For Elia Melgar                                      For American         Medical      Collection
                                                        Agency

   /s/ Michael Jay Ringelheim                           /s/ West A. Holden
   Michael Jay Ringelheim                               West A. Holden
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                                  CERTIFICATE OF SERVICE

         I certify that on June 20, 2017, a copy of the foregoing was filed electronically in the ECF

  system. Notice of this filing will be sent to the parties of record by operation of the Court’s

  electronic filing system. Parties may access this filing through the Court’s system.

                                                /s/ Michael Jay Ringelheim
                                                Michael Jay Ringelheim
                                                RC Law Group, PLLC
                                                285 Passaic Street
                                                Hackensack, NJ 07601
                                                Attorneys for Plaintiff




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